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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                                 BUTTE DIVISION

 UNITED STATES OF AMERICA,
                                                           CR-13-15-BU-BMM
                             Plaintiff,

        v.                                                ORDER

 DACOTA ROBERT ROGERS,

                             Defendant.




                                   BACKGROUND

        Dacota Robert Rogers (“Rogers”) moves the Court to reduce his sentence

pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Doc. 47.) Rogers is serving a sentence

of 224 months for distribution of fentanyl. (Doc. 27.) The underlying offense

involved the accidental death of Rogers’s roommate, Mark Allen (“Mark”), from a

fentanyl overdose. Rogers has served more than 110 months of his sentence.

Rogers’s scheduled release date is September 21, 2029. See Inmate Locator,

www.bop.gov/inmateloc (last visited January 6, 2023). Rogers is currently

incarcerated at FCI Victorville Medium II in Victorville, California. Id.

   I.        Availability of Relief Under 18 U.S.C. § 3582.
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      The First Step Act amended the United States Code to “promote rehabilitation

of prisoners and unwind decades of mass incarceration.” United States v. Brown,

411 F. Supp. 3d 446, 448 (S.D. Iowa 2019). The First Step Act amendments to 21

U.S.C. § 841(b)(1)(A) and 18 U.S.C. § 3582(c)(1)(A) prove especially relevant to

Rogers’s motion.

      Where, as here, a motion for a sentence reduction is well taken, a court may

modify a term of imprisonment following a finding that “extraordinary and

compelling reasons warrant such a reduction.” Id. When deciding whether to reduce

a sentence, a court must consider the factors set forth in 18 U.S.C. § 3553(a) (“§

3553(a)”), and whether the reduction proves “consistent with applicable policy

statements issued by the Sentencing Commission.” Id. § 3582(c)(1)–(2).

      Congress has not defined those circumstances that rise to the level of

“extraordinary and compelling,” except to say that “[r]ehabilitation of the defendant

alone” is insufficient. 28 U.S.C. § 994(t); Brown, 411 F. Supp. 3d at 448. The law

instead directs the Sentencing Commission to issue a policy statement in which it

describes “what should be considered extraordinary and compelling reasons for

sentence reduction, including the criteria to be applied and a list of specific

examples.” 28 U.S.C. § 994(t); Brown, 411 F. Supp. 3d at 448.

      The relevant Sentencing Commission policy statement lies in USSG §

1B1.13, titled Reduction in Term of Imprisonment Under 18 U.S.C. § 3582(c)(1)(A)

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(“Policy Statement”). Notably, the Sentencing Commission has not amended the

Policy Statement since passage of the First Step Act. See United States v. Haynes,

456 F. Supp. 3d 496, 507 (E.D.N.Y. 2020); Brown, 411 F. Supp. 3d at 448. A number

of district courts have noted the unlikelihood of the Sentencing Commission

updating the Policy Statement in the foreseeable future, as the Sentencing

Commission requires four voting Commissioners to adopt a proposed amendment,

and currently has only two voting Commissioners. See, e.g., Haynes, 456 F. Supp.

3d at 510 n.20; Brown, 411 F. Supp. 3d at 449 n.1; United States v. Cantu, 423 F.

Supp. 3d 345, 347–48 n.1 (S.D. Tex. 2019); United States v. Maumau, No. 2:08-cr-

00758-TC-11, 2020 WL 806121, at *1 n.3 (D. Utah Feb. 18, 2020); United States v.

Fox, No. 2:14-cr-03-DBH, 2019 WL 3046086, at *3 (D. Me. July 11, 2019); United

States v. Handerhan, No. 110-CR-00298, 2019 WL 1437903, at *1 n.4 (M.D. Pa.

Apr. 1, 2019).

      The “Commentary” to the Policy Statement lists five “Application Notes,” the

terms of which evidence the Policy Statement’s inapplicability to the amended

§ 3582(c)(1)(A). See USSG § 1B1.13 n.1–5. Note 1 lists those circumstances that

qualify as “extraordinary and compelling,” including the defendant’s medical

condition, age, family circumstances, and “Other Reasons.” Id. n.1(A)–(D). The

“Other Reasons” subdivision to Note 1 provides as follows: “As determined by the

Director of [BOP], there exists in the defendant’s case an extraordinary and

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compelling reason other than, or in combination with, the reasons described in

subdivisions (A) through (C).” Id. n.1(D). Notes 4 and 5 likewise “speak plainly to

the BOP’s exclusive gate-keeping authority pre-[First Step Act].” Haynes, 456 F.

Supp. 3d at 508. Note 4 provides, for example, that a “reduction under this policy

statement may be granted only upon motion by the Director of the [BOP] pursuant

to 18 U.S.C. § 3582(c)(1)(A).” USSG § 1B1.13 n.4 (emphasis added).

      The pre-First Step Act Policy Statement does not account for amendments to

§ 3582(c)(1)(A), namely, removal of BOP’s sentinel authority over sentence

reduction petitions and extension to defendants of the right directly to move for a

sentence reduction. See United States v. Beck, 425 F. Supp. 3d 573, 579 (M.D.N.C.

2019). The Policy Statement instead contemplates only motions filed by the BOP

Director. Id.; see also USSG § 1B1.13.

      When the First Step Act’s amendments of § 3582(c)(1)(A) became effective,

a split in authority emerged over whether the Policy Statement at USSG § 1B1.13

remained “applicable” to § 3582(c)(1)(A) motions directly filed by defendants. See

Beck, 425 F. Supp. 3d at 579 (quoting § 3582(c)(1)(A)(i)’s requirement that a court’s

sentencing reduction must be “consistent” with any “applicable” policy statements);

Cantu, 423 F. Supp. 3d at 351 (“Given the changes to [§ 3582(c)(1)(A)], the policy-

statement provision that was previously applicable . . . no longer fits . . . and thus

does not comply with the congressional mandate that the policy statement must

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provide guidance on the appropriate use of sentence-modification provisions under

§ 3582.”); Haynes, 456 F. Supp. 3d at 511–13 (citing “at least twelve” other federal

district courts that have held the Policy Statement’s “extraordinary and compelling

reasons” list to be unexhaustive for defendants’ direct sentence reduction motions).

      The Ninth Circuit subsequently issued its decision in United States v. Aruda,

993 F.3d 797 (9th Cir. 2021). Aruda makes clear that the Policy Statement at USSG

§ 1B1.13 “is not an ‘applicable policy statement’ for 18 U.S.C. § 3582(c)(1)(A)

motions filed by a defendant.” 993 F.3d at 801. Where a court considers a sentence

reduction motion directly filed by a defendant under the First Step Act, the

substantive standards for what may qualify as extraordinary and compelling expand

beyond the bounds of guidance provided in USSG § 1B1.13’s Policy Statement

Application Notes. Id. at 802; see also Haynes, 456 F. Supp. 3d at 511–13; Cantu,

423 F. Supp. 3d at 350–52; Beck, 425 F. Supp. 3d at 578–80 (M.D.N.C. 2019);

Brown, 411 F. Supp. 3d at 451.

      Although the Policy Statement may provide helpful guidance, see United

States v. Booker, 543 U.S. 220, 245 (2005), “it does not constrain the Court’s

independent assessment of whether ‘extraordinary and compelling reasons’ warrant

a sentence reduction under § 3582(c)(1)(A)(i).” Beck, 425 F. Supp. 3d at 579; see

also United States v. McCoy, 981 F.3d 271, 282 n.7 (4th Cir. 2020). The Court will

look to additional considerations outside those listed in the Policy Statement to

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determine whether extraordinary and compelling circumstances compel a reduction

in Rogers’s sentence.

      II.    Whether Rogers has Demonstrated Extraordinary and Compelling
             Reasons.

      Despite this Court’s determination that it has discretion to provide relief,

Rogers still must demonstrate that extraordinary and compelling reasons support

release or a reduction of his sentence. Maumau, 2020 WL 806121, at *5. Rogers

urges the Court to release him on the basis of an excessive sentence. Rogers asserts

that his original sentence reflected an improper calculation of the applicable

guideline sentencing range. (Doc. 48 at 8–12.) Rogers argues that the appropriate

sentencing range would have been 12 to 18 months, even without considering the

applicable offense level reductions for acceptance of responsibility. (Id. at 12.)

Rogers also cites in support of his motion his lack of a significant disciplinary record

in prison and his completion of extensive educational and treatment programming

while incarcerated. (Id. at 15–17.)

      Rogers further points to his youth at the time of the offense and the unique

circumstances of the offense and his relationship to Mark’s family during his

incarceration. (Id. at 13–14; 19–21.) Mark’s family supports Rogers’s early release.

(Id. at 21; Doc. 48-4 at 1–2.) Rogers also seeks release to act as a caregiver for his

grandparents. (Doc. 48 at 14–15; Doc. 48-5.) Rogers finally notes health concerns

relating to the ongoing COVID-19 pandemic. (Id. at 17–19.)

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      The Government opposes Rogers’s motion for compassionate relief. (Doc.

50.) The Government maintains that Rogers’s sentence of 224 months proved

appropriate and reflected the correct guidelines range. (Id. at 7–8.) The Government

argues that neither Rogers’s rehabilitation, COVID-19 health concerns, nor his

grandparents’ care-related needs amounts to extraordinary and compelling reasons

for a sentence reduction. (Id. at 6–7.)

      The Court determines that extraordinary and compelling reasons exist to grant

Rogers’s motion for compassionate release. Due to the extraordinary and compelling

reasons presented by Rogers’s age at the time of the offense, evidence of

commitment to his education and personal growth while incarcerated, relationship

with the victim’s family, strong family support, and sentencing disparity

considerations, the Court will grant Rogers’s motion for compassionate release.

      Reducing Rogers’s sentence to effectively a time-served sentence comports

with the § 3553(a) sentencing factors. Rogers was a criminal history category two.

(Doc. 35 at 10; 35-1 at 18–19.) Rogers’s total offense level was calculated to be 35.

(Doc. 35 at 10.) Rogers’s total offense level likely should have been calculated to be

in the range of 9 to 12 based on the offense to which Rogers pled guilty. (Id. at 18.)

Rogers has served over 110 months of his sentence. The time Rogers has served

reflects the seriousness of his offense, promotes respect for the law, and fulfills the

need for “just punishment.” § 3553(a)(1), (a)(2)(A).

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      Gail Allen (“Ms. Allen”) wrote in a victim statement submitted before

Rogers’s sentencing that she and her family “don’t harbor hard feelings toward

Da[c]ota Rogers.” (Doc. 35 at 6.) The victim impact statement stated that Mark’s

family hoped that “he is able to do something with his life;” emphasized that

“[Rogers] is so young;” and affirmed that “[w]e do forgive him and pray for him and

his family.” (Id.)

      “[E]vidence of postsentencing rehabilitation may be highly relevant to several

of the § 3553(a) factors that Congress has expressly instructed district courts to

consider.” Pepper v. United States, 562 U.S. 476, 490 (2011). Rogers has

acknowledged the seriousness of his offense. (Doc. 48 at 24.) Ms. Allen has

submitted a remarkable letter that details her support for Rogers’s release. (Doc. 48-

4.) Ms. Allen explains that she first wrote to Rogers in 2014. (Id. at 2.) Rogers and

Ms. Allen since then have written to each other four to five letters a year, building

in the process a relationship based on forgiveness and reconciliation. (Id. at 2–3.)

      Ms. Allen states that Rogers “has expressed his sorrow for Mark’s death and

his part in it, and also how Mark’s death changed his own life.” (Id. at 2.) Ms. Allen

writes that she and Rogers have “forged a friendship that allows us to go beyond my

son’s death and genuinely care about each other.” (Id. at 3.) Ms. Allen confirms that

her husband and other children “are supportive of an earlier release.” Ms. Allen




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states that she believes that Rogers “truly desires to live a responsible life and would

have good things to contribute to society.” (Id.)

      Rogers’s conduct while incarcerated provides further evidence that a reduced

sentence proves appropriate. Rogers has accumulated no significant disciplinary

infractions in prison in the last 5 years. (Id. at 27.) Rogers has excelled academically

while incarcerated. Rogers completed his GED in 2014. (Doc. 48-6.) He earned an

associate’s degree in Science and Math in 2018. (Id. at 11.) Rogers has continued to

work toward a B.S. in Business Administration from California Coast University.

(Id. at 3–10.) Rogers also has enrolled in numerous creative and artistic courses,

including in watercolors, sound engineering, music theory, creative writing. (Id. at

2.)

      Rogers’s pursuit of educational and treatment programming while serving his

sentence addresses the needs to “protect the public” and to “provide the defendant

with needed education or vocational training” and “other correctional treatment.”

§ 3553(a)(2)(C), (a)(2)(D). These considerations, in combination with the

extraordinary relationship Rogers has built with members of the victim’s family,

Rogers’s young age at the time of the offense, and the likelihood that the applicable

guideline level for imprisonment should have been in the range of 6 to 18 months

rather than 188 to 235 months, all militate in favor of a reduced sentence.




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        The Court has granted, in part, other compassionate release requests where a

defendant has prior felony drug offenses and has pled guilty to drug conspiracy,

distribution, and/or possession offenses. See, e.g., United States v. Romero, 4:12-cr-

51-BMM, Doc. 240 (sentence reduced by 55 months to a total of 188 months);

United States v. Pratt, 4:12-cr-82-BMM, Doc. 325 (sentence reduced by 15 months

to a total of 145 months).

        Rogers has a robust release plan in place. His grandparents have a place for

Rogers to live. (Doc. 48-5 at 2.) Rogers has a job waiting at the family laundry

business. (Id.) Rogers also will benefit from the support of his aunt, uncle, and

brother. (Doc. 48 at 28–29; Doc. 48-5 at 3.) The Court, in recognition of the fact that

Rogers “truly desires to live a responsible life and would have good things to

contribute to society,” will grant Rogers’s motion. (Doc. 48-4 at 3.)

                                      ORDER

        Accordingly, IT IS ORDERED:

   1.   Rogers’s motion for compassionate release under 18 U.S.C.
        § 3582(c)(1)(A)(i) is GRANTED.

   2. Pursuant to the original judgment and 18 USC 3582 (1)(A), the total term of
      supervised release shall be 3 years.

   3. This Order is STAYED for up to 60 days.

   4. The U.S. Probation Office must verify Rogers’s residence and establish a
      release plan with an initial placement in a prerelease center for at least 3
      months. Rogers shall be released directly from custody to the Great Falls


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   Pre-Release Center or other approved facility in the District of Montana.
   Appropriate travel arrangements also must be made.

5. Rogers shall be released on the earlier of the following dates:

      a. When the U.S. Probation Office is satisfied the requirements of
         paragraph four have been met; or

      b. Seventy (70) days from the date of this order.

6. If more than 60 days are needed to accomplish Rogers’s release, the United
   States must notify the Court and demonstrate cause why the stay of this
   order should be extended.

7. The U.S. Probation Office shall review Rogers’s conditions of supervised
   release. If modifications are needed, the Probation Office should notify the
   counsel for both parties.

8. Rogers must provide the Court with the complete address where he will
   reside upon release.

   DATED this 6th day of January, 2023.




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